           Case 1:22-cr-00070-RDM Document 27-9 Filed 03/14/22 Page 1 of 2


From:             Rosen, Gregory (USADC)
To:               Rozzoni, Jennifer M. (USADC); Moeder, Matthew (USADC); Jafary-Hariri, Mitra (USADC)
Cc:               Chriss, Margaret (USADC)
Subject:          FW: Notice of Arrival 1/31/2022
Date:             Tuesday, February 1, 2022 3:38:16 PM


All,

See below. Margaret – I looked in Caseview, and the Hebron case appears to be yours.

Greg


From: Yette, Frederick (USADC) <FYette@usa.doj.gov>
Sent: Tuesday, February 1, 2022 5:23 PM
To: Rosen, Gregory (USADC) <GROSEN2@usa.doj.gov>; Tobias, Teesha (USADC)
<TTobias@usa.doj.gov>
Subject: FW: Notice of Arrival 1/31/2022

Please see below in case any of these cases belong to our AUSAs and let them
know.

Frederick W. Yette
Assistant U.S. Attorney
555 4th Street, NW
Washington, DC 20530
(202) 252-7733 (o)
(202) 738-7236 (cell)

From: Oglesby, Elizabeth (USMS) <EOglesby@usms.doj.gov>
Sent: Tuesday, February 1, 2022 4:53 PM
To: Philip Tran <Philip_Tran@dcd.uscourts.gov>; Haywood, Derek (USMS)
<DHaywood@usms.doj.gov>; Kymberly Kay <Kymberly_Kay@dcd.uscourts.gov>; Tiffany Lavigne-
Rhodes <Tiffany_Lavigne-Rhodes@dcd.uscourts.gov>; Teresa Gumiel
<Teresa_Gumiel@dcd.uscourts.gov>; Smith, Kelly (USADC) <KSmith15@usa.doj.gov>;
takeysha.robinson_psa.gov <takeysha.robinson@psa.gov>; Yette, Frederick (USADC)
<FYette@usa.doj.gov>
Cc: DCD-PC <DCD-PC@usms.doj.gov>; DCDwarrants (USMS) <UDCDwarrants@usms.doj.gov>;
Butler, Tyrone (USMS) <TButler1@usms.doj.gov>; Clerkttong (USMS) <UClerkttong@usms.doj.gov>;
Caldwell, Steven (USMS) <SCaldwell@usms.doj.gov>; Alford, Roderick (USMS)
<RAlford@usms.doj.gov>
Subject: Notice of Arrival 1/31/2022

Good afternoon,

The following inmates have arrived in district and is being housed in Northern Neck Regional Jail.

Denny, Lucas      78422-509
       Case 1:22-cr-00070-RDM Document 27-9 Filed 03/14/22 Page 2 of 2


Hebron, Devron 29608-016
Boughner, Tim   77714-509
Courson, Mason 78637-509

Thank you,

Elizabeth F. Oglesby
Deputy US Marshal
U.S. Marshals Service District of Columbia – District Court
333 Constitution Ave., NW, Washington, D.C. 20001
(703) 343-3917
